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                                   1                                UNITED STATES DISTRICT COURT

                                   2                               NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4    STEVEN WAYNE BONILLA,                           Case Nos. 25-cv-1979-PJH
                                                      Plaintiff,                                  25-cv-1980-PJH
                                   5
                                                                                                  25-cv-2063-PJH
                                                v.
                                   6                                                              25-cv-2064-PJH
                                   7                                                              25-cv-2065-PJH
                                        JUDGE LYDIA VILLARREAL et. al.,                           25-cv-2178-PJH
                                   8                  Defendants.                                 25-cv-2179-PJH
                                   9                                                              25-cv-2180-PJH
                                  10                                                              25-cv-2182-PJH
                                                                                                  25-cv-2183-PJH
                                  11
                                                                                                  25-cv-2184-PJH
                                  12                                                              25-cv-2444-PJH
Northern District of California
 United States District Court




                                  13                                                              25-cv-2445-PJH
                                                                                                  25-cv-2513-PJH
                                  14
                                                                                                  25-cv-2532-PJH
                                  15                                                              25-cv-2533-PJH
                                  16                                                              25-cv-2535-PJH
                                                                                                  25-cv-2536-PJH
                                  17
                                                                                                  25-cv-2537-PJH
                                  18                                                              25-cv-2538-PJH
                                  19                                                              25-cv-2539-PJH
                                                                                                  25-cv-2540-PJH
                                  20
                                                                                                  25-cv-2617-PJH
                                  21                                                              25-cv-2618-PJH
                                  22                                                              25-cv-2621-PJH
                                                                                                  25-cv-2629-PJH
                                  23

                                  24                                                    ORDER DISMISSING MULTIPLE
                                                                                        CASES WITH PREJUDICE
                                  25

                                  26
                                             Plaintiff, a state prisoner, filed multiple pro se civil rights complaints under 42
                                  27
                                       U.S.C. § 1983. Plaintiff is a condemned prisoner who also has a pending federal habeas
                                  28
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                                   1   petition in this court with appointed counsel. See Bonilla v. Ayers, Case No. 08-0471

                                   2   YGR. Plaintiff is also represented by counsel in state court habeas proceedings. See In

                                   3   re Bonilla, Case No. 20-2986 PJH, Docket No. 1 at 7.

                                   4          Plaintiff presents nearly identical claims in these actions. He names as

                                   5   defendants various federal and state judges and other officials. He seeks relief regarding

                                   6   his underlying conviction or how his other cases were handled by the state and federal

                                   7   courts.

                                   8          To the extent that plaintiff seeks to proceed in forma pauperis (IFP) in these cases,

                                   9   he has been disqualified from proceeding IFP under 28 U.S.C. § 1915(g) unless he is

                                  10   “under imminent danger of serious physical injury” at the time he filed his complaint. 28

                                  11   U.S.C. 1915(g); In re Steven Bonilla, Case No. 11-3180 CW; Bonilla v. Dawson, Case

                                  12   No. 13-0951 CW.
Northern District of California
 United States District Court




                                  13          The allegations in these complaints do not show that plaintiff was in imminent

                                  14   danger at the time of filing. Therefore, he may not proceed IFP. Moreover, even if an

                                  15   IFP application were granted, his lawsuits would be barred under Heck v. Humphrey, 512

                                  16   U.S. 477, 486-87 (1994), Younger v. Harris, 401 U.S. 37, 43-54 (1971), Demos v. U.S.

                                  17   District Court, 925 F.2d 1160, 1161-62 (9th Cir. 1991) or Mullis v. U.S. Bankruptcy Court,

                                  18   828 F.2d 1385, 1393 (9th Cir. 1987). Accordingly, the cases are dismissed with

                                  19   prejudice. The court notes that plaintiff has an extensive history of filing similar frivolous

                                  20   cases.1

                                  21          Furthermore, these are not cases in which the undersigned judge’s impartiality

                                  22   might be reasonably questioned due to the repetitive and frivolous nature of the filings.

                                  23   See United States v. Holland, 519 F.3d 909, 912 (9th Cir. 2008) (absent legitimate

                                  24   reasons to recuse himself or herself, a judge has a duty to sit in judgment in all cases

                                  25   assigned to that judge). 2

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                                       1
                                  27     The undersigned is the fourth judge assigned cases filed by plaintiff. This is the 74th
                                       order issued by the undersigned since April 30, 2020, pertaining to 1,090 different cases.
                                  28   Plaintiff filed 962 other cases with the three other judges since 2011.
                                       2
                                         Plaintiff names the undersigned as a defendant in two of these cases, though presents
                                                                                      2
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                                   1          The clerk shall terminate all pending motions and close these cases. The clerk

                                   2   shall return, without filing, any further documents plaintiff submits in these closed cases.

                                   3          IT IS SO ORDERED.

                                   4   Dated: March 27, 2025

                                   5

                                   6                                                            /s/ Phyllis J. Hamilton
                                                                                               PHYLLIS J. HAMILTON
                                   7                                                           United States District Judge
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                                  12
Northern District of California
 United States District Court




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                                  28   no specific allegations. See Case Nos. 25-2064; 25-2538. Plaintiff does not seek
                                       recusal, nor is recusal warranted considering the frivolous nature of the cases.
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